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               FOR THE MIDDLE DISTRICT-                          Pial3AMA
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  SAN Y JO STANLEY,                    111D        )!'.571iGT
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              Plaintiff,

  v.                                                         CIVIL ACTION NO.:
                                                                 2:20-cv-01034-SMD
  NEPTUNE TECHNOLOGY GROUP,
                                                             DEMAND FOR JURY
              Defendant.


                                  COMPLAINT


       Comes now the Plaintiff, SANDY JO STANLEY, and files her Complaint

pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-5 and 42

U.S.0 § 12117(a) for violation of the Americans with Disabilities ActfADA),for

her being discharged because of a disability, showing to the court as follows:

                           JURISDICTION AND VENUE

        Jurisdiction is conferred under Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e-5 and 42 U.S.0 12117(a), the Americans with Disabilities Act of

1990(ADA).

       The violation of the Plaintiffs rights as alleged herein occurred in Elmore

County, Alabama, and within the Middle District of Alabama.
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                                      PARTIES

        1) The Plaintiff, SANDY JO STANLEY,(hereinafter "Plaintiff') is over the

age of nineteen years, is a resident of Elmore County, Alabama, and was no at the

time ofthe incidents which form the basis of this lawsuit. Plaintiff is a former

employee of Neptune Technology Group, Inc.

          )The Defendant, Neptune Technology Group, Inc.,(hereinafter

"Defendant") is a foreign corporation authorized to do and doing business within

the State of Alabama, in Elmore County.

    FACTUAL ALLEGATIONS RELATED TO VIOLATIONS OF THE
          AMERICANS WITH DISABILITIES ACT(ADA)


        3) Plaintiff is a qualified individual with a disability in accordance with the

Americans with Disabilities Act and a covered entity as defined under the Americans

with D sabilities Act of 1990(ADA),42 U.S.0 § 12111(4).

        4) Defendant employs 500 or more employees and is located in the State of

Alaba7      Elmore County.

          )Plaintiff was employed by Defendant for over 16 years.

        6) In 2008, Plaintiff underwent shoulder surgery for a tear in her rotator cuff

due to a job-related injury.

        7) Since 2008, Plaintiff has continued to receive treatment for pain from her

injury.


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      8) Plaintiff made a request for a reasonable accommodation pursuant to the

Americans With Disabilities Act.

      9 Defendant denied said request, thereby constructively terminating her

employment.

      10) A new MRI performed during the time period in which the constructive

termination occurred showed a new tear in Plaintiffs rotator cuff.

             Facts Specific to Plaintiffs Request for Accommodation

      11) Even after her shoulder surgery in 2009,Plaintiff was never without

pain. S e kept working through the pain and eventually began receiving injections

in her should at Alabama Orthopedic Specialists in Montgomery, Alabama,to help

ease th pain.

      12) When the injections into Plaintiffs shoulder stopped being helpful,

Plaintiff was referred to a neurosurgeon who gave Plaintiff pain injections in her

neck. After each injection, Plaintiff was not allowed to operate a motor vehicle for

a perio of24 hours. Each injection relieved Plaintiffs pain for a approximately a

week to 10 days. Plaintiff s worker's compensation benefits paid for her medical

treatmept, and Plaintiff continued to work.

      13) In 2017,the worker's cornpensation company assigned to Plaintiffs

case continued to pay for Plaintiffs pain injections. However,they ceased to pay




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Plaintiff for the 24-hour period during which she was not allowed to operate a

motor vehicle or heavy equipment following each injection.

      14) In 2019,Plaintiffs pain grew worse. She went back to Alabama

Orthopedic Specialists and received another injection into her shoulder. Dr.

Walcott suggested at that time that Plaintiff talk with her supervisor and make a

request to be moved to a department within the company that did not require her to

continue the repetitive motions that her work required.

      15) Plaintiff contacted Jill Samuelson in the Human Resources Department

at Neptune and relayed to Ms. Samuelson that Dr. Walcott suggested. Ms.

Samuelson told the Plaintiff that there was nothing that could be done to change

her work.

      16) Dr. Walcott then put Plaintiff on three weeks' light duty in order to give

the inflammation in her shoulder time to heaL He suggested that Plaintiff have

minimum use of her right shoulder and arm during that three-week period oftime.

      17) Ms. Samuelson wanted Plaintiff to stay home during the three-week

period oftime, but Sharita Anderson (the worker's compensation nurse) said that

Plaintiff would not receive any worker's compensation benefits if she stayed home.

(They would pay for the shots, but not Plaintiffs time away from work.)

      18) Plaintiff was then assigned to a job in Department 58-3. Thatjob was

basically the same as the job that had_caused her injury. However, Department 58-


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3 operated at a slower pace. Although Plaintiff could use her right arm less

frequen ly, she was still required to use it in this "light duty"job that was

essentially not "light duty" at all.

       1 )Neptune then shut down Department 58-3. Plaintiff asked that she be

reassigned to Department 58-2, which would allow her to use her left arm more

than he right arm. She was denied that request. Plaintiff was told she would have

to retum to Department 58-1.

      20) Department 58-1 is the department that Plaintiff could not work in

because of her injury. She told her supervisor that she could not handle the pace of

Department 58-1 with the pain in her shoulder. Department 58-1 builds about

4,000 ater meters daily, with about 11 employees in that Department. Everybody

in that department rotates around from the "buil& side to the "packine side. That

was October, 2019.

      21) When Plaintiff told her supervisor, Rob Baker, that she could not go

back to Department 58-1, he told her she had no choice and started to "write up"

Plaintiff for insubordination.

        2) Plaintiff then caught the attention of Mr. Baker's supervisor, IVIr. Ian

McMillan. Plaintiff, Mr. Baker, and Mr. McMillan went into IVIr. Baker's office to

discuss the issues.




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      23) Plaintiff told Mr. Baker and Mr. McMillan that she could not handle the

speed of Department 58-1 with the pain in her shoulder, and she was again told

that she had no choice. Mr. McMillan told her,."You just mash a button."

However,there is much more required of an individual in Department 58-1 than

pressing a button.

      24) Finally, Mr. Baker and Mr. McMillan said they would speak with Mr.

Rod Wallace(who is Mr. McMillan's supervisor) and with Nurse Sharita

Anderson. There was not any write-up.

      25) Plaintiff went back to the floor at tear-down and waited until Mr.

Wallace arrived. She went into Mr. Wallace's office and told him about the prior

meeting she had had with Mr. Baker and Mr. McMillan. Mr. Wallace asked her if

she had explained carefully to them the situation with her shoulder, but indicated to

Plaintiff that he had no control over the situation.

      26) Plaintiff asked Neptune for a reasonable accommodation so that she

could be relieved ofthe strenuous, repetitive work required of her in Department

58-1. She was denied the accommodation and was told she must continue to work

in Department 58-1.

      27) After the meeting with Mr. Wallace, Plaintiff clocked out and went

horne. She did not go back to work and used vacation leave,"occurrence time,"

and FMLA (allowed three days per month).
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        28) On October 4, 2019, Plaintiff texted Jill Samuelson. On October 7,

2019, Jill Samuelson sent a text to Plaintiff stating that she was out of the office for

the week due to an emergency. Ms. Samuelson, however, did not make any

arrangements for anyone else in the RR Department at Neptune to contact Plaintiff.

        2 ) On October 17, 2019, Dr. Walcott made a new MRI of Plaintiffs

shoulde . According to Dr. Walcott, the IVIRI showed that there is a tear in

Plaintiffs rotator cuff and that she may need additional surgery to repair that. He

suggested that she may need another surgery which would be the same,

        30) On October 24, 2019, Jill Samuelson called Plaintiff and asked her

whethe she had "called in" for that day. When Plaintiff said that she had not

called in, Ms. Samuelson told Plaintiff that she (Plaintiff) had "quit her job."

Plaintiff has not been allowed to return to work.

        31) There were reasonable accornmodations that could have been made in

the form of other jobs at the same facility

                                      COUNT I

                 Violations of the Americans with Disabilities Act

                            (Failure to Accommodate)

        3 ) Plaintiff incorporates and realleges each and every allegation set forth

above   a:d incorporates the same herein by reference.

        33) Defendant Neptune Technology Group,Inc., violated the Americans with
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Disabilities Act(ADA)after a request for reasonable accommodation was made by

failing to make adequate job accommodations, engage the Plaintiff in the interactive

process to make job accommodations, and maintaining an inflexible leave policy

which did not provide for reasonable accommodations discussions, but instead

provided for termination of employment, in violation ofthe ADA.

      34)Plaintiff claims of the defendant compensatory damages including back

pay provided by 42 U.S.C. § 12117 and 42 U.S.0 §2000e-5 and any other

enhancement or damages that may be provided by law. Compensatory damages

include ack pay and any other compensable damages that were proximately caused

by vio1ation of the law.      Plaintiff also claims attorneys' fees pursuant to

42 USC § 12205.

                            PRAYER FOR RELIEF

           REFORE,premises considered, Plaintiff respectfully requests the Court

to:

         Permanently enjoin the defendant, its agents, successors, officers,

         employees, attorneys, and those acting in concert with them from engaging

         in each of the unlawful practices, policies, customs, and usages set forth

         herein, and from continuing any and all other practices shown to be in

         violation of applicable law;




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      b Order modification or elimination of practices, policies, customs, and

         usages set forth herein and all other such practices shown to be in violation

         of applicable law h herein and all other such practices shown to be in

         violation of applicable law.

      c Grant compensatory damages against the defendant, including but not

         limited to, back pay, loss of fringe benefits, and loss of career

         advancement.

      d) Grant punitive damages to the maximum provided by law.

      e) Reinstate Plaintiffs employment with Defendant.

         Order an award of cost and Attorneys fees to Plaintiff.



                                    COUNT II

                              Retaliatory Discharge

      35) Plaintiff incorporates and realleges each and every allegation set forth

above and incorporates the same herein by reference.

      36) Plaintiff alleges she is the victim of a retaliatory discharge by Neptune

Technology Group, Inc.

      37) The Plaintiff is a member of a protected class under the Americans with

Disabilifes Act.




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      38) The Plaintiff engaged in a protected activity by asking for a reasonable

accomr1odation. The Defendant willfully and intentionally discriminated the

Plaintif for engaging in the protected activity which lead to the retaliatory discharge

of the P aintiff.


                             PRAYER FOR RELIEF

       Wherefore, premises considered, Plaintiffrespectfully request the Court to:

       a Permanently enjoin the defendant, its agents, successors, officers,

          employees,attorneys, and those acting in concert with them from engaging

          in each of the unlawful practices, policies, customs, and usages set forth

          herein, and from continuing any and all other practices shown to be in

          violation of applicable law;

       b) Order modification or elimination of practices, policies, customs, and

          usages set forth herein and all other such practices shown to be in violation

          of applicable law h herein and all other such practices shown to be in

          violation of applicable law.

      c) Grant compensatory damages against the defendant, including but not

          limited to, back pay, loss of fringe benefits, loss of career advancement.

      d) Grant punitive damages to the maximum provided by law.

      e) Reinstate Plaintiffs employment with Defendant.

          Order an award of cost and Attorneys fees to Plaintiff.
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                                    COUNT III

                                 Injunctive Relief

      39) Plaintiff incorporates and realleges each and every allegation set forth

above and incorporates the same herein by reference.

      4 ) Plaintiff requests that the Defendant be enjoined from engaging in such

unlawfu employment practice, and order such affirmative action as may be

appropriate, which may include, but is not limited to, reinstatement or hiring of

employees, or any other equitable relief as the court deems appropriate.

                             PRAYER FOR RELIEF

      WHEREFORE THE PREMISES CONSIDERED, the Plaintiff respectfully

requests the Court to:

      a) Enter a judgment that the discriminatory practices complained of herein are

unlawful and violative ofthe Americans with Disabilities Act .of 1990 (ADA);

      b)    Permanently enjoin the defendant, its agents, successors, officers,

employees, attorneys, and those acting in concert with them from engaging in each of

the unla ful practices, policies, customs, and usages set forth herein, and from

continuing any and all other practices shown to be in violation of applicable law;

      c) Order modification or elimination ofpractices, policies, customs, and usages

set forth herein and all other such practices shown to be in violation of applicable law;

      d) Grant compensatory damages against the defendant, including back pay;
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      ec) Grant Punitive damages to Plaintiff against Defendant for the maximum

allowe by law;

      0 Grant Plaintiff the cost ofthis action including reasonable attorney's fees;

      g) Grant pre-judgment and post-judgment interest at the maximum rate

allowab e by law;

      h     Grant such other, further and different relief as this Court may deem just,

and all other equitable and legal relief as to which Plaintiff may be entitled.



                       The Plaintiff Requests Trial by Jury.


                                  Respectfully submitted,




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